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                                                                               FILED
                      UNITED STATES COURT OF APPEALS                            MAR 19 2013

                                                                           MOLLY C. DWYER, CLERK
                              FOR THE NINTH CIRCUIT                          U .S. C O U R T OF APPE ALS




 CITY OF VISALIA,                                   No. 13-15215

                Plaintiff - Appellant,              D.C. No. 1:12-cv-01181-AWI-
                                                    SMS
   v.                                               Eastern District of California,
                                                    Fresno
 CHARTIS, INC.; et al.,

                Defendants - Appellees.             ORDER



        Pursuant to the stipulation of the parties, this appeal is voluntarily dismissed.

Fed. R. App. P. 42(b). The parties shall bear their own costs and attorneys’ fees on

appeal.

        A copy of this order shall serve as and for the mandate of this court.

                                                 FOR THE COURT


                                                By: Stephen Liacouras
                                                Circuit Mediator




SL/Mediation
